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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RICHARD J. SILVERBERG                        :
                                             :              CIVIL ACTION
               v.                            :
                                             :              NO. 23-1868
DUPONT DE NEMOURS, INC., et al               :


RICHARD J. SILVERBERG                        :
                                             :              CIVIL ACTION
               v.                            :
                                             :              NO. 24-924
DUPONT DE NEMOURS, INC., et al               :

                                           ORDER

       AND NOW, this 3rd day of January 2025, upon consideration of the Defendant Dow

Inc.’s Motion to Withdraw as Counsel (ECF Nos. 177, 115), it is ORDERED that the Motions

are GRANTED. The Clerk of Court is DIRECTED to remove Carla G. Graff, Esquire, from

service of any further pleadings in connection with these matters.

       IT IS SO ORDERED.



                                                     BY THE COURT:

                                                     __/s/ R. Barclay Surrick _
                                                     R. BARCLAY SURRICK, J.
